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UNITED STATES DISTRICT COURT                                           SOUTHERN DISTRICT OF TEXAS



                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                               Case Number                 4:19-CV-02645

                                                 John Ingalls


                                                     versus
                                        Buckeye Partners, L.P et al



                                          Gary A. Bornstein
           Lawyer’s Name
           Lawyer's
                Firm                      Cravath, Swaine & Moore LLP
                Street                    825 Eighth Avenue
          City & Zip Code                 New York, NY 10019
                                                          10019
         Telephone & Email                (212) 474-1000 / gbornstein@cravath.com
      Licensed: State & Number            New York Bar No.
       Federal Bar & Number               Federal Bar No.


                                          Buckeye Partners, L.P., Clark C. Smith,
                                                                            Smith. Pieter Bakker, Barbara J.
                                                                                                          .1. Duganier,
 Name of party applicant seeks to
                                             Joseph
                                             •Joseph A. LaSala, Jr., Mark C. McKinley, Larry C. Payne, Oliver G.
 appear for:
                                                       Richard, III,
                                                                111, Frank S. Sowinski, Martin A. White,
                                                                                                   White.


 Has applicant been sanctioned by any bar association or court? Yes
                                                                Yes_______ No                             X

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:                         Signed:
                  3-0


 The state bar reports that the applicant's
                                applicant’s status is:

 Dated:                         Clerk’s signature
                                Clerk's



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                              United States District Judge
